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January 26, 2024
Hon. Marian W. Payson
United States District
Court

100 State Street
Rochester, New York 14614

Re: United States v. Timothy Jackson Jr.
Case No. 24-MJ-4013

Dear Judge Payson:

In anticipation of our detention hearing, I wanted to inform the Court of the bail proposal made by
Timothy Jackson Sr., on behalf of his son, Timothy Jackson Jr.

There are three rental properties which the defendant’s father wishes to post as bail:

A. 32 Harvest Street, Rochester New York Assessed Value $53,800.00

B. 49 Angle Street, Rochester New York Assessed Value $47,800.00

C. 19 Angle Street, Rochester New York Assessed Value $55,000.00
Total $156,600.00

We are proposing that a property bond be granted, secured by the above-referenced properties as
a term of the conditions for Mr. Jackson’s release.

I anticipate Timothy Jackson Sr. to be present in court on Monday to answer any questions that
Your Honor may have for him relative to the property bond.

Thank you for your consideration.

Very truly yours,

Maurice J. Verrillo
pe: AUSA Robert Marangola via e-filing
Mr. Timothy Jackson Jr.

PLEASE NOTE NEW ADDRESS
